 ORDER PER CURIAM On consideration.-of the certified order suspending respondent from the practice of law in Virginia for nine months with conditions; this court’s July 21, 2017, order temporarily suspending respondent .and directing him to show cause why identical reciprocal discipline should' not be imposed; and the statement of Disciplinary Counsel regarding reciprocal discipline; and it appearing that respondent did not file a response to the show cause order but filed the required D.C. Bar R. XI, § 14(g) affidavit on August 16, 2017, it is .- ORDERED that Wright H. Lewis is hereby suspended from the practice of law in the District of Columbia for a period of nine months, subject to the conditions imposed by the state of Virginia. See In re Sibley, 990 A.2d 483, 487-88 (D.C. 2010) (explaining that the presumption of identical discipline in D.C. Bar R. XI, § 11(c) will prevail except in “rare” cases); In re Cole, 809 A.2d 1226, 1227 n.3 (D.C. 2002) (explaining that in unopposed reciprocal matters the “imposition of identical discipline should be close to automatic”). For purposes of reinstatement, the suspension will be deemed to run nunc pro tune from August 16, 2017. 